                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                   NO. 5:18-CR-00452-FL-1


 UNITED STATES OF AMERICA                     )
                                              )
           v.                                 )                       ORDER
                                              )
 LEONID ISAAKOVICH TEYF                       )



       Upon motion of the Defendant, for good cause shown, it is hereby ORDERED that

Defendant’s proposed sealed document (D.E. 436) filed on 4 February 2020 be sealed until

further order of the court.

       It is further ORDERED that the Clerk of Court provide a filed copy of the sealed filing to

counsel for the Government and Defendant.

       SO ORDERED.

       This the ___ day of February, 2020.




                                             Louise W. Flanagan
                                             United States District Judge




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